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 7

 8                            UNITED STATES BANKRUPTCY COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10                                     LOS ANGELES DIVISION
11

12   In re                                           )   Case No: 2:23 -bk-10990-SK
                                                     )
13   LESLIE KLEIN,
                                                     ~   Chapter 11

14                                                   )
                                                     )
                                              Debtor.)
15
                                                     )   NOTICE OF APPEARANCE
16                                                   )
                                                     )
17                                                   )
                                                     )
18

19
             TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
20
             PLEASE TAKE NOTICE that FLP Law Group LLP represents interested party Les
21
     Klein & Associates, Inc., a professional law corporation, in connection with its Rule 2004
22
     examination in the above-referenced Chapter 11 case.
23

24   DATED: August 30, 2023

25

26

27

28




                                             Notice ofAppearance
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                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding . My business address is:
FLP LAW GROUP LLP 1875 Century Park East, Suite 2230, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF APPEARANCE will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 30, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                       ~ Service information continued on attached page

II. SERVED BY UNITED STATES MAIL:
On (date) August 30, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


United States Bankruptcy Court
Chambers of the Honorable Sandra Klein
255 E. Temple St., Suite 1582
Los Angeles, CA 90012

                                                                                        D Service information continued on attached page
Ill. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                        D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




 August30,2023                        SAFA SALEEM
 Date                            Printed Name                                                    Stgnatut<




             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


J une 2012                                                                                           F 9013-3.1.PROOF .SERVICE
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